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                                                        4 Stabbed, 33 Arrested After Trump
  Health                  Science                       Supporters, Counterprotesters Clash In
  Technology              Race & Culture                D.C.                                                                                                                              Case No. 1:21-cr-35-EGS
                                                        December 12, 2020 · 12:44 PM ET


                                                          JASON SLOTKIN                    SUZANNE NUYEN               JAMES DOUBEK




Tyrone Turner




                                                        Updated at 2:23 p.m. ET Sunday

                                                        Thousands of President Trump's supporters — four weeks after a similar protest —
                                                        flocked to the nation's capital for a protest in support of the president and his false
                                                        claims of a stolen election.

                                                        By Saturday night, clashes between rallygoers and counterprotesters escalated into
                                                        violence, with four people stabbed and 33 people arrested into Sunday morning. Nine
                                                        people were transported to hospitals, according to Washington, D.C.'s Fire and EMS
                                                        Department. Two of the nine were police officers with injuries that were not life-
                                                        threatening.

                                                        Several groups that attended last month's protest marched again on Saturday. Those
                                                        included the Proud Boys, a self-proclaimed "Western-chauvinist" organization known
                                                        for violent confrontations with left-wing protesters. It's considered a hate group by the
                                                        Southern Poverty Law Center.




Supporters of President Trump participate in the Million MAGA March to protest the outcome of the 2020 presidential election, in front of the U.S. Supreme Court on Dec. 12 in Washington, D.C.
Tyrone Turner/WAMU




President Trump broadcast his approval of Saturday's demonstration, tweeting, "Wow! Thousands of people forming in Washington (D.C.) for Stop the Steal. Didn't know about this, but I'll be seeing them! #MAGA."
Tyrone Turner/WAMU




                                                        On Saturday evening, Proud Boys and counterprotesters were facing off in scattered
                                                        skirmishes downtown. Police tried to separate the two sides. Counterprotesters also
                                                        clashed with police at times, DCist reported.


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                                                        A total of nine injured people were transported from
                                                        D.C.'s downtown to hospitals after 7 p.m., the fire                                                Matt Blitz
                                                                                                                                                           @WhyBlitz
                                                        department said. Police said Sunday that 33 people
                                                                                                                                                Replying to @WhyBlitz
                                                        were arrested between Saturday into Sunday morning,
                                                                                                                                                About 30 mins ago, an intense skirmish happened
                                                        on charges including simple assault, possession of a
                                                                                                                                                when about 30 to 40 Proud Boys emerged from the
                                                        prohibited weapon, assault on a police officer, crossing
                                                                                                                                                alley and approached counter protestors from
                                                        a police line, assault with a dangerous weapon and                                      behind.
                                                        other charges.

                                                        Reporter Jenny Gathright of NPR member station
                                                        WAMU observed members of the Proud Boys marching
                                                        through Freedom Plaza earlier Saturday. Some of them
                                                        were holding up white power symbols.

                                                        On Saturday morning, a White House spokesman
                                                        confirmed that as the group gathered in D.C., one of its
                                                        leaders, Enrique Tarrio, took a public tour of the White
                                                        House. Tarrio posted about his visit to the right-wing                                  7:42 PM · Dec 12, 2020
                                                        social media app Parler. The White House says that
                                                                                                                                                      17            5        Share this Tweet
                                                        Tarrio did not meet with the president, nor was he
                                                        specifically invited. Tarrio said the visit "shows we've
                                                        come a long way."




People march in support of Trump and in protest of the outcome of the 2020 presidential election, in Washington, D.C.
Tyrone Turner/WAMU




A Proud Boy member gestures as he marches in support of Trump. Thousands of protesters who don't accept that President-elect Joe Biden won the election were rallying.
Tyrone Turner/WAMU




A member of the Proud Boys makes a white power hand gesture.
Dee Dwyer for NPR




                                                                     Hannah Allam
                                                                     @HannahAllam

                                                           Proud Boys in kilts. Dozens of them gathering downtown
                                                           now for today’s March for Trump.




                                                           10:20 AM · Dec 12, 2020

                                                                 3.9K             5.6K            Share this Tweet




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Police create a line separating counterprotesters from Proud Boys.
Dee Dwyer for NPR




A counterprotester talks with a police officer, saying police are protecting Trump supporters and not counterprotesters.
Dee Dwyer for NPR




                                                        Among the speakers at the pro-Trump rally during the day was former national
                                                        security adviser Michael Flynn, who in his first public remarks since he was pardoned
                                                        by Trump sought to deny President-elect Joe Biden's victory.

                                                        "People ask me this all the time now, in the last couple of days certainly: On a scale of 1
                                                        to 10, who's going to be the next president of the United States? And I say 1o, Donald
                                                        J. Trump! 10!" Flynn told the crowd.

                                                        Flynn was pardoned by Trump late last month. He had pleaded guilty to lying to the
                                                        FBI during the investigation into Russian interference in the 2016 election.

                                                        Other speakers at the rally included My Pillow CEO Mike Lindell and right-wing
                                                        activist Jack Posobiec.




Counterprotesters form a line behind a police line while chanting, "Whose streets? Our streets," to the Proud Boys, who are on the opposite side chanting, "F*** antifa."
Dee Dwyer for NPR




Kenny Lheureux of Gloucester, Va., wears his Super Trump outfit.
Tyrone Turner/WAMU




Police officers create a line between Trump supporters and counterprotesters.
Dee Dwyer for NPR
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Tyrone Turner/WAMU




                                                         Elsewhere, right-wing conspiracy theorist Alex Jones was spotted on the National
                                                         Mall. Jones also attended last month's march.

                                                         Similar to last's month larger rally, Saturday's demonstration brought participants
                                                         into D.C. from far and wide. Louis Murray, who came from Boston, told WAMU that
                                                         even if Trump's legal efforts to overturn the election fail, "we can still celebrate
                                                         Trumpism" and "get ready for 2024."

                                                         "This is a very hopeful day for conservatives in America," Murray told WAMU.

                                                         Trump broadcast his approval of Saturday's demonstration, tweeting, "Wow!
                                                         Thousands of people forming in Washington (D.C.) for Stop the Steal. Didn't know
                                                         about this, but I'll be seeing them! #MAGA."

                                                         On Saturday, crowds cheered as Marine One flew overhead with the president on
                                                         board en route to another event. During last month's protest, Trump made an
                                                         impromptu visit, riding by the rally in his presidential motorcade.




Members of Black Lives Matter, Anthony Lorenzo Green (from left), Nee Nee and Qiana Johnson, stand at Black Lives Matter Plaza.
Dee Dwyer for NPR




Tyrone Turner/WAMU




Proud Boys walk away from Black Lives Matter Plaza after police officers turned them away from counterprotesters.
Dee Dwyer for NPR




                                                         Meanwhile, local Black Lives Matter activists and allies gathered in response at the
                                                         city's Black Lives Matter Plaza, a center for activism since the summer.

                                                         "We're not counterprotesting," said Anthony Lorenzo Green, an organizer with Black
                                                         Lives Matter's D.C. chapter. Green told DCist, "We're really just trying to create spaces
                                                         of liberation so folks don't feel oppressed or bothered or feel like, you know, 'Why are
                                                         these folks coming to our city bringing this type of violence to our city?' We're pushing
                                                         back against that, saying, 'No, this is D.C. This is who we are, we're resilient and we're
                                                         going to have our joy in the midst of all that may be going on in the city.' "




Tyrone Turner/WAMU




Police scuffle with counterprotesters during a confrontation at Black Lives Matter Plaza.
Tyrone Turner/WAMU




A counterprotester gets treatment after an irritant was sprayed into his eyes by police.
Tyrone Turner/WAMU




Trump supporters argue with counterprotesters, expressing that Trump will have four more years as president.
Dee Dwyer for NPR




Proud Boys scream at counterprotesters near McPherson Square. Police separated the two groups.
Tyrone Turner/WAMU




                                                         On Friday, according to WAMU, Trump supporters and counterprotesters clashed at
                                                         Black Lives Matter Plaza, which led to several arrests.

                                                         Hours after last month's rally, Trump supporters brawled with counterprotesters, with
                                                         at least one person stabbed, two police officers injured and at least 20 arrests.

                                                         Demonstrators are gathering at a time when coronavirus cases have been surging in
                                                         Washington, D.C., as in most of the United States. As in November, many participants
                                                         in the pro-Trump gathering were seen without masks or face coverings.




Trump supporters stand with the Proud Boys near Lafayette Square.
Dee Dwyer for NPR




Members of the Proud Boys stand in front of Lafayette Square.
Dee Dwyer for NPR




Tyrone Turner/WAMU




                                                          million maga        2020 election
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